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NO Miss, Form P3, COMPLAINT CHALLENGING CONDITIONS OF CONFINEMENT (4/00

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UNITED STATES DisTRICT COURT

NORTHERN DISTRICT OF MISSISSIPPI = 4. ‘APR 2 G 2008
DAV! WS, OLBAK
Wl l/04m f, Tapner— onde
. Plaintiff .

v. CASE No. 1-04 0v 10@-P-D

Lee County Sh evi FF Deforpmeny

Defendant

PRISONER'S COMPLAINT CHALLENGING CONDITIONS OF CONFINEMENT

1. The Plaintiffs full legal name, the name under which the Plaintiff was sentenced, the Plaintiff's
inmate identification number, the Plaintiff's mailing address, and the Plaintiff's place of confinement
are as follows:

A. Legal name: wil licyn PA (ip Tener
~ ~-B.Name-under.which.sentenced: LLU Conte f Al Terne _
C. inmate identification number: RIE9$

D. Plaintiffs mailing address (street or
post office box number, city, state, ZIP):

E. Place of confinement: ’ oo ros al

~ ~2....... Plaintiff names the following person(s) as the Defendant(s) in this civil action:

Name dim H. Aehnson
Title (Superintendent, Sheriff, etc.): S her itt

Defendant's mailing address (streetor 19 AZ Camm mert-4 Sipe

post office box number, city, state, Z/P)
Ta pelo, 15. 29 P04

Case: 1:09-cv-00106-MPM-JAD Doc #: 1 Filed: 04/20/09 2 of 8 PagelD #: 2

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ND Miss. Form P3, COMPLAINT CHALLENGING CONDITIONS OF CONFINEMENT (4/00) . PAGE 2
Name: aoel Roy Ce

Jt
Title (Superintendent, Sheriff, etc.): ¢ orveckion O +f, hy
Defendant's mailing address (streetor SJ w. Cammerte SH

post office. box number, city, state, ZIP) —___
Tibeto, S15. ZEGOY

Name: SHAM. Bri dges
Title (Superintendent, Sheriff, etc.): Shitk S$ tot
Defendant's mailing address (street or §10 MW. Commerce sd ae
post office box number, city, state, ZIP)
Tepelo, MS. ZG YY

Name:

Title (Superintendent, Sheriff, etc.):

Defendant's mailing address (street or

post office box number, city, state, ZIP) Sify ff

(Ilfadditional Defendants are named, provide on separates sheets of paper the compiete name, title,
and address information for each. Clearly label each additional sheet as being a continuation of
Question 2).

3. Have you commenced other lawsuits in any other court, Cj Yes ar No
state or federal, dealing with or pertaining to the same facts

~~ ~--that-you-allege.in-this.lawsuit.or. otherwise relating to your
imprisonment? oe

4, If you checked “Yes” in Question 3, describe each tawsuit in the space below. If there is more than
One lawsuit, describe the additional lawsuit(s) on separate sheets of paper; clearly label each
additional sheet as being a continuation of Question 4.

A. Parties to the lawsuit:

Plaintiff(s):

Defendant{s):

_ fy
B. Court: A S J C.D oo
D. Judge's Name: /. [ /. / E/Date suit filed:

F. Date decided: / vo G. Result (affirmed, reversed, etc.):

5. Is there a prisoner grievance procedure or sys- [ar ves CJ No
tem in the place of your confinement?

6. lf “Yes,” did you present to the grievance sys- yy Yes CJ No
tem the same facts and issues you allege in
this complaint? (See question 9, below).

7. If you checked “Yes” in Question 6, answer the following ~
questions:
Case: 1:09-cv-00106-MPM-JAD Doc #: 1 Filed: 04/20/09 3 of 8 PagelD #: 3

ND Miss. Form P3, COMPLAINT CHALLENGING CONDITIONS OF CONFINEMENT (4/00) Pace 3
A. Does the grievance system place a limit on the yr Yes CJ No
time within which a grievance must be presented? :
B. If you answered “Yes,” did you file or present your la Yes CJ No

grievance within the time limit allowed?

C. The court must find that you exhausted the prison’s grievance system and administrative
remedies before it can consider this Complaint. State everything you did to present your
grievance(s). Be specific. Include the date(s) on which you filed or presented your grievances to
prison officers; identify the officer(s). State your claim(s) exactly.

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Qn LZ Gat ne Le jle from ney Con dlasnts.

. .D..State specifically what official response your grievance received. !f the prison provides an
administrative review of the decision on your grievance; state-whether-you-applied-for that. .
review and what the result was.

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Case: 1:09-cv-00106-MPM-JAD Doc #: 1 Filed: 04/20/09 4 of 8 PagelD #: 4

ND Miss. Form P3, COMPLAINT CHALLENGING CONDITIONS OF CONFINEMENT (4/00) PaGe 4

Special Note: Attach to this Complaint as exhibits complete copies of all requests you made
for administrative relief through the grievance system, all responses to your requests or
grievances, ail administrative appeals you made, ail responses to your appeals, and all receipts
for documents that you have.

8. If you checked “No” in Question 6, explain why you did not use the grievance procedures or
system:

FALL O
(a F¢ co:

9, Write below, as briefly as possible, the facts of your case. Describe -+how each Defendant is
involved. Write the names of all other persons invoived. Include dates and precise places of
events. Do not give any legal argument or cite any legal authority. If you have more than one
claim to present, number each claim in a separate paragraph. Attach additional pages only if
necessary; label attached pages as being continuations of Question 9.

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Case: 1:09-cv-00106-MPM-JAD Doc #: 1 Filed: 04/20/09 5 of 8 PagelD #: 5

ND Miss. Form P3, COMPLAINT CHALLENGING CONDITIONS OF CONFINEMENT (4/00) Pace 5

10. State briefly exactly what you want the court to do for you. Do not make legal arguments. Do
not cite legal authority.

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wioutck Jelevisfon.

This Complaint was executed at (location):

and | declare or certify or verify or state under penalty of perjury that this Complaint is true and correct.

Date:

Plaintiff's Signature
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lha Jai Kor nesting with Vittle Childven. [ fesk +l Oct gth at 9/30

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Case: 1:09-cv-00106-MPM-JAD Doc #: 1 Filed: 04/20/ of 8 PagelD #: 8

Gpril (7, 2009

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